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1                                 UNITED STATES DISTRICT COURT

2                                        DISTRICT OF NEVADA

3      JAMES GREENFIELD,
4                                                         3:19-cv-0440-MMD-CLB
                                     Plaintiffs,
5         v.
                                                          ORDER
6      MICHAEL MINEV, et al.,
7
                                  Defendants.
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            On October 28, 2020 the court granted plaintiff leave to proceed in forma pauperis
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     (“IFP”) (ECF No. 28). On November 6, 2020, defendants moved to revoke plaintiff’s IFP
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     status because plaintiff has $3,665.89 in his Trust 1 account (ECF No. 29). Defendants’
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     motion (ECF No. 29) is DENIED.
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            Notwithstanding that plaintiff may be able to pay the filing fee in this case, IFP status
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     also confers certain benefits which plaintiff will undoubtedly not be able to afford with the
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     amount in his Trust 1 account, including service of process. 28 U.S.C. § 1915(d). IFP status
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     also allows the court to direct payment by the United States of the printing of transcripts or
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     records on appeal, if required by the district or appellate courts. 28 U.S.C. § 1915(c).
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     Revoking IFP status would also impede the court from requesting an attorney to represent
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     plaintiff if the court deems it necessary. 28 U.S.C. § 1915 (e).
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            In addition, the granting of in forma pauperis status does not relieve plaintiff of paying
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     the filing fee, the full filing fee must still be paid pursuant to 28 U.S.C. § 1915(b)(2). Plaintiff
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     shall pay the filing fee as the court ordered. The Nevada Department of Corrections shall
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     pay to the Clerk of the United States District Court, District of Nevada, 20% of the preceding
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1    month’s deposits to plaintiff’s account in the months that the account exceeds $10.00 until

2    the full $350.00 filing fee has been paid in full.

3            November 9, 2020
     DATED: __________________.

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                                                 UNITED STATES MAGISTRATE JUDGE
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